Case 1:O4-cr-00127-RCT Document 133 Filed 01/10/05 Page 1 of 15

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF IDAHO

)
UNITED STATES OF AMERICA, )
)
Plaintiff, ) Case No. CR-O4-127-S-RCT
)
V. )
) MEMORANDUM DECISION
DAVID ROLAND HINKSON, ) AND ORDER REGARDING
) MOTION TO SUPPRESS
Defendant. ) STATEMENTS TO CHAD
) CRONER

 

Pending before the Court is the Defendant’S Motion to Suppress Statements
to Chad Croner and Request for Evidentiary Hearing (Docket # 119); Motion for
Discovery Related to Defendant’s Alleged Statements to Chad Croner (Docket #

120); and the Government’S Opposition to Defendant’S Motion to SuppreSS

MEMORANDUM DECISION AND ORDER re MOTION to SUPPRESS - 1

Case 1:O4-cr-00127-RCT Document 133 Filed 01/10/05 Page 2 of 15

Statements (Docket # 130) and oral opposition to discovery.1 Having conducted
an evidentiary hearing and oral argument of counsel on January 7, 2005, and after
considering the evidence and the legal authorities provided by each side, the Court
now rules as follows:
FINDINGS OF FACT

l. Defendant David Roland Hinl<son is charged by Superceding Indictment
With soliciting other persons to murder federal officials or employees, specifically
United States District Judge Edward J. Lodge, Assistant United States Attorney
(A.U.S.A.) Nancy D. Cook, and Internal Revenue Service Special Agent Steven
M. Hines, as Well as threatening to do bodily harm to the family members of Cook
and Hines. All of these solicitations and threats are alleged to have occurred in the
District of Idaho after the Defendant Was arrested on November 2l, 2002, and
thereafter placed on pretrial release in another federal criminal case then pending
against Hinkson in this District. Trial on the Superceding Indictment is to
commence on January 10, 2005, in Boise.

2. Hinkson is currently detained in federal custody at the Ada County Jail in

 

lDefendant’s motion for discovery also includes a request for an unredacted F.B_I. report
regarding witness Brit Groom. The Government has already provided the Defendant With this
report. See Minutes of January 7, 2005, hearing The Court understands that this part of the
motion is therefore Withdrawn as moot.

MEMORANDUM DECISION AND ORDER re MOTION to SUPPRESS - 2

Case 1:O4-cr-00127-RCT Document 133 Filed 01/10/05 Page 3 of 15

Boise, Idaho, pending Sentencing after a jury returned verdicts of guilty on twenty-
siX counts of income tax and employment tax violations, structuring financial
transactions to avoid currency transaction reporting requirements, and after
Hinkson pled guilty pretrial to two counts of introducing misbranded drugs and
devices into interstate commerce under the Food and Drug Act.

3. Federal inmate Chad Croner offered sworn testimony to this Court that
he was first moved into the Ada County Jail housing module with Defendant on
Sunday, November 21, 2004. The housing module is designed for approximately
eight inmates, but has held from four to nine inmates at various times during the
period from November 21 to December 8, 2004, after which Croner was moved
out of the jail. Croner is serving a 21-month sentence imposed by United States
District Judge Edward J. Lodge following Croner’s felony plea to bankruptcy
fraud, 18 U.S.C. § lSZ(a), and misdemeanor plea to failing to file a tax return, 26
U.S.C. § 7203. He was awaiting transfer from custody of the United States
Marshal at the Ada County Jail to the United States Bureau of Prisons.

4. Defendant Hinkson first began speaking with his cellmate, Chad Croner,
on the afternoon of November 21 st and learned that Croner had been sentenced by
Judge Lodge.

5. Defendant first conversed with Croner about Hinkson’s case on the

MEMORANDUM DECISION AND ORDER re MOTION to SUPPRESS - 3

Case 1:O4-cr-00127-RCT Document 133 Filed 01/10/05 Page 4 of 15

evening of Sunday, November 21, and again on Monday, November 22, 2004.
Hinkson apparently felt comfortable talking with Croner since Judge Lodge had
presided over Croner’s case and the same federal judge had originally been
assigned to preside over Defendant’s Tax Case.

6. Subsequent conversations occurred daily between the two men. They
usually took place on Hinkson’s bed while others were present in the module.

7. Croner spoke with his defense attorney on November 22, 2004, and
reported what Hinkson had said to Croner. Croner’s lawyer instructed Croner not
to ask Hinkson any questions, but just to listen to what Hinkson said. Croner
followed his attorney’s advice.

8. Further conversations between Hinkson and Croner occurred between
November 21 and November 3(), 2004. Croner did not initiate or provoke these
conversations Hinkson spoke to other cellmates as well.

9. On November 3(), 2004, Croner was interviewed by Federal Bureau of
Investigation (F.B.I.) Special Agent William Long. Agent Long asked Croner
what information Hinkson had provided to Croner. The agent then gave Croner
the same advice Croner had received from his own attorney: “Not to ask _ don’t
ask Hinkson questions, just listen.”

10. Croner followed those instructions

MEMORANDUM DECISION AND ORDER re MOTION to SUPPRESS - 4

Case 1:O4-cr-00127-RCT Document 133 Filed 01/10/05 Page 5 of 15

ll. Prior to November 30, 2004, Croner had no contact with any law
enforcement officer regarding Mr. Hinkson.

12. On December 8, 2004, Croner was interviewed for a second time by
F.B.I. agents, who were this time accompanied by federal prosecutors from the
United States Department of Justice.

13. Croner again told the Government what Hinkson had said to him while
the two men were housed together in the same Ada County Jail housing module.

14. His last conversation with Hinkson had occurred on December Sth prior
to his meeting later that day with the prosecutors and agents.

15. Following the December Sth interview, Croner was moved out of the
Ada County Jail within 24 hours. He had no further conversations With Hinkson
concerning Hinkson’s case in that 24-hour period before the men were separated
from one another.

l6. No evidence was presented at the evidentiary hearing that Croner posed
questions to Hinkson or violated the instructions he had been given by his own
attorney and federal officers to simply listen to what Hinkson told him and then
report that information to federal officials

17. The Court finds Chad Croner’s testimony to be credible and truthful on

the key facts relevant to the Massz`ah issue raised by the defense. Croner presents

MEMORANDUM DECISI()N AND ORDER re MOTION to SUPPRESS - 5

Case 1:O4-cr-00127-RCT Document 133 Filed 01/10/05 Page 6 of 15

as a reluctant witness who testified under a Cooperation Agreement dated
December 22, 2004, in the hope of receiving a reduction in his prison sentence at
some nature point. The Court has considered that fact, and the cross-examination
by defense counsel at the hearing, in viewing with skepticism the testimony of any
cooperating informant like Croner who hopes to achieve a substantial penal
reward for his testimony. However, for purposes of assessing Croner’s credibility
on whether he actively sought to question or interrogate Hinkson after November
30, 2004, as a de facto agent for the Government, the Court was presented with no
countervailing evidence to rehite Croner’s sworn testimony that he adhered to the
instructions to simply listen to what Hinkson said and report what he had heard.
For purposes of ruling on this pretrial motion, the Court accepts as credible his
testimony and relies upon it for the factual findings that the Court now makes that
Croner did as he was instructed The jury will obviously have to decide in light of
all the evidence in the case whether or not Mr. Croner’s testimony is reliable in all
material respects as to specifically what Hinkson told him. That key factual
question will be for the jury to resolve at trial.

18. F or purposes of resolving this motion, the Court finds as a matter of
fact that from November 21 to December 8, 2004, Croner did nothing more than

report to authorities what his cellmate Hinkson had said to him and that he took no

MEMORANDUM DECISION AND ORDER re MOTION to SUPPRESS - 6

Case 1:O4-cr-00127-RCT Document 133 Filed 01/10/05 Page 7 of 15

steps to initiate or stimulate admissions by Hinkson.

W
I. Suppression of Alleged Statements.

The Defendant moves the Court to suppress evidence of the statements he
made to Chad Croner while they were incarcerated in the same jail housing unit at
the Ada County Jail in Boise, idaho. Through his motion, Hinkson argues that the
statements made to Croner after November 22, 2004, were taken in violation of his
Fifth and SiXth Amendment rights because Croner was acting as a Government
agent once he had reported to the Government on that date. Further, he asserts
that Croner was acting as an agent because he received consideration in the form
of a promised reduction in his federal sentence as a result of providing information
to the Government. AS such, Hinkson argues that the statements he made to
Corner should be suppressed because they were obtained in violation of the rule in
Massiah v. United States, 377 U.S. 201 (1964), prohibiting government agents
from eliciting incriminating statements after an accused is represented by counsel.

At the evidentiary hearing held on January 7, 2005, defense counsel
properly conceded that statements made to Croner by Hinkson on or before

November 30, 2004, may not be suppressed because Croner was not acting as a

MEMORANDUM DECISION AND ORDER re MOTION to SUPPRESS - 7

Case 1:O4-cr-00127-RCT Document 133 Filed 01/10/05 Page 8 of 15

Government agent during that time. The Court agrees and holds as a matter of law
that this evidence was lawfully obtained. The Ninth Circuit has recently
reaffirmed that statements made to a witness by an accused before the witness
meets “with the prosecution team cannot be the basis of a Massz'ah violation.”
Randolph v. Peop]e Ofthe State OfCaltf, 380 F.3d 1133, 1144 (9th Cir. 2004)
(citing Maine v. Moulton, 474 U.S. 159, 176 (1985)). Croner did not discuss
Hinkson with any law enforcement official until his November 30, 2004, meeting
with Agent Long. The Court therefore DENIES Defendant’s motion to suppress
evidence of statements made to Croner by Defendant on or before November 30,
2004.

The only evidence that may be subject to suppression is the testimony of
Croner regarding statements that Defendant allegedly made between November 30
and December 8, 2004. The Defendant argues that by returning Croner to the
same jail housing unit that he shared with Hinkson after his initial interview by
Agent Long, the Government impermissibly planted a Government agent to elicit
further incriminating statements He asserts that there is no evidence that Croner
had to be returned to the same jail unit and that, after meeting with the
Government, Croner would have too much incentive to refrain from wrongfully

eliciting more information. The Government acknowledges that after the

MEMORANDUM DECISION AND ORDER re MOTION to SUPPRESS - 8

Case 1:O4-cr-00127-RCT Document 133 Filed 01/10/05 Page 9 of 15

November 30, 2004, meeting, Croner “could perhaps fairly” be considered a
Government agent, but asserts that his status as a Government agent is not
conclusive on resolving the issue of suppression The United States argues that
because Croner did not ask questions of Hinkson, he did not deliberately elicit
information and so the Sixth Amendment was not violated.

The SiXth Amendment right to counsel extends to prohibit the Government
from “deliberately eliciting” incriminating statements from the defendant once the
right has attached Id. at 1 143 (citing Massiah, 377 U.S. at 206). This prohibition
includes the “use of jailhouse informants who relay incriminating evidence from a
prisoner to the government.” Id. (citing United States v. Hemy, 447 U.S. 264
(1980)). To Show that the Sixth Amendment has been violated, the Defendant
“must show that [the witness] was acting as an agent of the [Government] When he
obtained the information from [Defendant] and that [the witness] made some
effort to ‘stimulate conversations about the crime charged.”’ Id. at 1144
(emphasis added). As Justice Powell noted in his concurrence in Hemy, “Massz`ah
does not prohibit the introduction of spontaneous statements that are not elicited
by governmental action.” 447 U.S. at 276 (Powell, J., concurring).

When statements to an informant made by the defendant are “unsolicited”

and “spontaneous” they are not wrongfully obtained. Randolph, 380 F.3d at 1143

MEMORANDUM DECISION AND ORDER re MOTION to SUPPRESS - 9

Case 1:O4-cr-00127-RCT Document 133 Filed 01/10/05 Page 10 of 15

(citing Kuhlmann v. Wz'lson, 477 U.S. 436 (1986)). To show a violation “the
defendant must demonstrate that the police and their informant took Some action_,
beyond mere listening, that was designed deliberately to elicit incriminating
remarks.” Kuhlmann, 477 U.S. at 459. There is no general Sixth Amendment
prohibition against placing a jail cell informant in a cell with an accused for the
purpose of obtaining information See id. at 45 6. In Kuhlmann, the Supreme
Court held that statements made to a jail house informant, who acted as a
“listening post” after being “placed in close proximity [with an accused] but made
no effort to stimulate conversations about the crime charged[,]” were admissible
and did not violate the Sixth Amendment. 477 U.S. at 45 6, n.19 (internal citation
and quotation omitted). The Supreme Court allowed the statements of a witness
who had agreed to act as a police informant prior to being placed into a cell with
the accused where the police had intentionally put the informant into the jail cell
to passively listen to the accused to determine the names of other perpetrators Id.
at 43 9, 45 6. Therefore, so long as an informant, even an informant intentionally
planted by law enforcement, remains a passive listener, his subsequent testimony
as to the content of the statements of an accused is admissible in the prosecution’s
case-in-chief.

The question of whether Croner must be considered a Government agent in

MEMORANDUM DECISION AND ORDER re MOTION to SUPPRESS - 10

Case 1:O4-cr-00127-RCT Document 133 Filed 01/10/05 Page 11 of 15

these circumstances is close. In deciding this issue, the “government’s intent or
overt acts [are not] important; rather, it is the likely result of the govemment’s
acts.” Rana’olph, 380 F.3d at 1144 (citing Henry, 447 U.S. at 271) (internal
quotation omitted). An explicit agreement to compensate a witness is not
necessary to show that a witness is a government agent. Id. The evidence before
the Court here regarding what was ultimately offered to Croner by the
Govemment, and when such offers may have been made, is limited to the
Government’s statement of the facts contained in Croner’s Cooperation
Agreement dated December 22, 2004.

However, even if Croner were acting as a Government agent, the
Government did not violate the Sixth Amendment per se by returning Croner to
the jail cell he shared with Hinkson. See Kuhlmann, 477 U.S. at 456. The
Defendant must show that Croner stimulated conversation that led to the
statements The facts adduced at the hearing on January 7, 2005, show that Croner
did not make any effort to stimulate conversation about the crime and so
Defendant fails to demonstrate that the Government “engaged in conduct that,
considering all of the circumstances is the functional equivalent of interrogation.”
See Hemy, 447 U.S. at 277 (citing Brewer v. Wz`llz'ams, 430 U.S. 387, 399 (1977))

(Powell, J., concurring).

MEMORANDUM DECISI()N AND ORDER re MOTION to SUPPRESS - 11

Case 1:O4-cr-00127-RCT Document 133 Filed 01/10/05 Page 12 of 15

The evidence further establishes that Croner did no more than listen and
report. He did not ask questions of Hinkson, nor did the Government at any time
ask Croner to elicit any information from Defendant. Instead, Croner was
persistently advised by his attorney and the Government not to ask any questions
of the Defendant but to simply listen to what Hinkson said. Croner complied with
these directions Defendant has presented no facts to refute this evidence or which
suggest any other action by Croner that could reasonably be construed as creating
the functional equivalent to an “indirect and surreptitious interrogation.” See
Kuhlmann, 477 U.S. at 458 (citing Hemy, 447 U.S. at 273) (internal quotation
omitted).

Therefore, the Court holds from the facts of record here that the
Government did not violate Massz`ah and Hem'y by returning Croner to the same
jail cell with the Defendant nor did Croner conduct the functional equivalent of an
interrogation. Croner followed the direction of his attorney and the Government
to merely passively listen to Hinkson’s statements and did not direct any
conversation to the topic of Hinkson’s criminal charges Compare Randolph, 380
F.3d at 1146 (finding that the witness deliberately elicited information on the basis
of witness’ testimony that he had asked questions and “led on” the accused to

obtain information).

MEMORANDUM DECISION AND ORDER re MOTION to SUPPRESS - 12

Case 1:O4-cr-00127-RCT Document 133 Filed 01/10/05 Page 13 of 15

Furthermore, the Court sees no basis on which to find that the Government
“intentionally created a situation likely to induce [Defendant] to make
incriminating statements without counsel’s assistance.” See i'd. (quoting United
States v. Kimball, 884 F,2d 1274, 1278 (9th Cir. 1989)). There is no evidence that
Defendant and Croner had any special relationship beyond the pure coincidence of
having their prior criminal tax cases before the same district judge that would
suggest Defendant might be inclined to confide in Croner. Cf Mou[ton, 474 U.S.
at 178-80 (holding that the Sixth Amendment was violated where an accomplice
acting as an undercover agent for the state discussed the crime with the accused
and repeatedly asked questions regarding the details of the crime). Instead, the
Court finds from the evidence that Hinkson likes to talk and spoke to others in his
housing unit besides Croner.

The Government is under no obligation to change the housing of an inmate
immediately after having made statements to a law enforcement officer about a
fellow inmate. lndeed, Such an obligation would not only be logistically onerous
to the Government, but could threaten the safety of such a witness, whose fellow
inmates might be suspicious of a Sudden change in housing. Moreover, the
Govemment did not leave Croner in the jail housing unit with Defendant for an

unreasonably long period of time. Only eight days passed between Croner’s

MEM()RANDUM DECISION AND ORDER re MOTION to SUPPRESS - 13

Case 1:O4-cr-00127-RCT Document 133 Filed 01/10/05 Page 14 of 15

meeting with Agent Long and his meeting with the prosecution team. Croner was
moved to a different location within 24 hours of speaking with the prosecution
team.

For these reasons, the Court finds that Croner, although arguably a
Government agent after his first meeting with Agent Long on November 30, 2004,
did not deliberately elicit incriminating evidence from Defendant and holds that
Hinkson’s rights under the Fifth and Sixth Amendments have not been violated
The Defendant’s motion to suppress the alleged statements is DENIED.

II. Motion for Discovery.

The Defendant also moves the Court to order discovery of the two F.B.I.
Form 302 reports that were prepared following interviews on November 30 and
December 8, 2004, of Chad Croner regarding the statements Defendant allegedly
made to Croner during their joint incarceration at the Ada County Jail. Defendant
asks the Court to consider whether these reports are subject to discovery under the
Jencks Act, 18 U.S.C. § 3500, and alternatively, under Gi'glz`o v. United States, 405
U.S. 150 (1972).

At the January 7, 2005, evidentiary hearing held on the motion to suppress
Croner’s testimony, the Court ordered the Government to submit the reports for in

camera review. Having considered the contents of the documents, the Court finds

MEMORANDUM DECISION AND ORDER re MOTION to SUPPRESS - 14

Case 1:O4-cr-00127-RCT Document 133 Filed 01/10/05 Page 15 of 15

that the reports are not discoverable under the statute because they are not
“statements” under § 3500(e). Nor are they discoverable under Gz`glio because
they contain nothing but inculpatory information and, at this stage of the case, they
are not impeaching The Court will consider ordering disclosure mid-trial
depending upon how the evidence is presented when Croner testifies Therefore
the Court DENIES Defendant’s motion for pretrial discovery.
_Q_IM

F or the reasons set forth above, the Defendant’s Motion to Suppress
Statements to Chad Croner (Docket # 1 19) and Motion for Discovery (Docket #
120) are DENIED.

IT IS SO ORDERED.

DATED this f§bday of January, 2005, at Boise, ldaho.

f<\:ir/£t,w/I; ':. . f {§..JWL, ¢-s'»¢'~¢i' ~..o_ .
RICHARD C. TALLMAN
United States Circuit Judge
Sitting by designation

 

MEMORANDUM DECISION AND ORDER re MOTION to SUPPRESS - 15

